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UN|TED STATES OF Ai\/|ER|CA,
P|aintiif,

VS.
CR. NO. 05-20217-B

LONN|E SN||TH,

Defendant.

 

ORDEFt ON CONT|NUANCE AND SPEC|FY|NG F’EF{|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that timel counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the oase.

The Court granted the request and reset the trial date to September 6, 2005 with a
report date of Mondav. Au_qust 29. 2005. at 9:30 a.m., in Courtroom 1, 11th F|oorof the
Federa| Building, Nlemphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends ot justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

|T |S SO ORDERED this 1 day (;%;§EOOS.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
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October 27, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

